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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  IN RE:
                                                       CASE NO. 19-42834
  MUHAMMAD NASIR SIDDIQI                               CHAPTER 7

                                  DEBTOR
  MARK A. WEISBART,
  CHAPTER 7 TRUSTEE                                    ADVERSARY NO. 20-04037

                                  PLAINTIFF
  V.

  JAMELA SIDDIQI

                                  DEFENDANT

                        MOTION TO COMPEL COMPLIANCE WITH
                     SUBPOENA AND RECOVERY OF FEES AND COSTS

 YOUR RIGHTS MAY BE AFFECTED BY THE RELIEF SOUGHT IN THIS PLEADING. YOU SHOULD READ THIS PLEADING
 CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY, IF YOU HAVE ONE IN THIS BANKRUPTCY CASE. IF YOU OPPOSE
 THE RELIEF SOUGHT BY THIS PLEADING, YOU MUST FILE A WRITTEN OBJECTION, EXPLAINING THE FACTUAL
 AND/OR LEGAL BASIS FOR OPPOSING THE RELIEF.

 NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A WRITTEN OBJECTION IS FILED WITH THE CLERK OF
 THE UNITED STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS PLEADING WITHIN
 FOURTEEN (14) DAYS FROM THE DATE OF SERVICE SHOWN IN THE CERTIFICATE OF SERVICE UNLESS THE
 COURT SHORTENS OR EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO OBJECTION IS TIMELY SERVED AND
 FILED, THIS PLEADING SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER GRANTING
 THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL THEREAFTER
 SET A HEARING WITH APPROPRIATE NOTICE. IF YOU FAIL TO APPEAR AT THE HEARING, YOUR OBJECTION MAY BE
 STRICKEN. THE COURT RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.

         COMES NOW Mark A. Weisbart, the duly appointed Chapter 7 Trustee (“Plaintiff”) for

 the bankruptcy estate of Muhammad Nasir Siddiqi, files this Motion to Compel Compliance with

 Subpoena and Recovery of Fees and Costs (the “Motion”), and in support of this Motion, the

 Trustee would respectfully show the Court as follows:

                                FACTUAL AND PROCEDURAL BACKGROUND

         1.      On October 16, 2019 (the “Petition Date”), Muhammad Nasir Siddiqi (“Debtor”)




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 filed a voluntary petition for relief under Chapter 7 of title 11 of the United States Code (the

 “Bankruptcy Code.”)

         2.      Thereafter, Plaintiff was appointed as the interim chapter 7 Trustee for the Debtor’s

 bankruptcy estate pursuant to 11 U.S.C. § 701, who has since become the permanent trustee in

 accordance with 11 U.S.C. § 702(d).

         3.      On February 28, 2020, Plaintiff commenced this above-referenced adversary

 proceeding seeking to avoid and recover the Debtor’s transfer of certain real property to defendant,

 Debtor’s ex-spouse, within two years prior to the Petition Date.

         4.      On November 30, 2020, Trustee issued a subpoena duces tecum (the “Subpoena”)

 on the Debtor seeking the production of various documents pursuant to FED.R.CIV.P. 45(a)(1)(D).

 A true and correct copy of the Subpoena is attached hereto as Exhibit “A”.

         5.      Debtor responded to the Subpoena by providing some documents on December 11,

 2019 and December 14, 2019. The documents produced, however, were largely duplicative of

 documents the Debtor had previously produced to the Plaintiff in response to the Plaintiff’s prior

 requests during the bankruptcy case. Yet, as to many requests the Debtor produced few or no

 documents. In short, Debtor all but ignored the subpoena.

         6.      Indicative of the Debtor’s lack of compliance to the Subpoena are the Debtor’s

 response to the following requests:

         PRODUCTION OF DOCUMENTS NO. 1:
         All Documents which identify or evidence all of your debts or liabilities for the time period
         January 1, 2018, through December 31, 2018.

         In response to this request, Debtor produced his 2018 tax return. Debtor produced no other
         documents remotely responsive to this request. He did not produce any bank statements,
         invoices, demand letters, mortgages or mortgage statements, credit card statements, bills,
         financial statements, guaranty agreements, contracts or leases.




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         PRODUCTION OF DOCUMENTS NO. 2:
         All Documents which identify all claims asserted against You for the time period January
         1, 2018, through December 31, 2018.

         Debtor produced no documents in response to this request. He did not any produce bill,
         invoices, demand letters, credit card statements, contracts or leases.


         PRODUCTION OF DOCUMENT NO. 3:
         All of Your bank account statements for calendar year 2018.

         Debtor produced no documents in response to this request.


         PRODUCTION OF DOCUMENTS NO. 4:
         All of Your credit card statements for 2018.

         Debtor produced only two partially produced Discover credit card statements from June to
         July 2018.


         PRODUCTION OF DOCUMENTS NO. 5:
         All Documents which relate to or evidence communications, including, without limitation,
         emails, texts and correspondence, between You and JS concerning the Lakestream Property
         since July 26, 2010.

         Debtor produced no documents in response to this request.


         PRODUCTION OF DOCUMENTS NO. 6:
         All Documents which relate to or evidence communications, including, without limitation,
         emails, texts and correspondence, between You and JS concerning or relating to the Ropal
         Litigation.

         Debtor produced no documents in response to this request.


         PRODUCTION OF DOCUMENTS NO. 7:
         All bills from phone companies for the period May 1, 2017, through March 31, 2019, that
         identify and evidence Your phone calls and texts to and from third parties.

         Debtor produced no documents in response to this request.




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         PRODUCTION OF DOCUMENTS NO. 8:
         All Documents which evidence, reflect or refer to the Deed Transfer at issue in the
         Adversary Proceedings.

         Debtor produced no documents in response to this request.


         PRODUCTION OF DOCUMENTS NO. 9:
         All Documents that evidence, refer or reflect any oral agreements between You and JS
         related in any way to the Deed Transfer or the Lakestream Property.

         Debtor produced no documents in response to this request.


         PRODUCTION OF DOCUMENTS NO. 10:
         All Documents identifying or evidencing the assets You owned during the period January
         1, 2018, through December 31, 2018.

         Debtor produced no documents in response to this request.


         PRODUCTION OF DOCUMENTS NO. 11:
         All Documents identifying or evidencing the value of any of the assets You owned during
         the period January 1, 2018, through December 31, 2018.

         Debtor produced no documents in response to this request.


         PRODUCTION OF DOCUMENTS NO. 13:
         The federal tax returns for Hiba Entertainment, Inc. for 2018.

         Debtor produced no documents in response to this request.


         PRODUCTION OF DOCUMENTS NO. 14:
         All financial records of Hiba Entertainment, Inc. for 2018, including, without limitation,
         financial statements, balance sheets, cash flow statements, bank account statements, credit
         card statements and contracts.

         In response to this request the Debtor produced only a cryptic unintelligible expense excel
         spreadsheet and Chase bank statements for January 2018 through August 2018.


         PRODUCTION OF DOCUMENTS NO. 15:
         All Documents which identify or evidence the debts or liabilities of Hiba Entertainment
         for the time period January 1, 2018, through December 31, 2018.



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        In response to this request the Debtor produced Chase bank account statements from
 January 1, 2018 through August 31, 2018. Debtor failed to produce any bills, invoices, credit card
 statements or any financial statements.


         PRODUCTION OF DOCUMENTS NO. 16:
         All Documents which identify or evidence all assets of Hiba Entertainment at any time
         during the time period January 1, 2018, through December 31, 2018.

         Except for the bank statements identified above, the Debtor produced no other documents
         in response of this request.


         PRODUCTION OF DOCUMENTS NO. 17:
         All Documents identifying or evidencing the value of any of the assets Hiba owned during
         the period January 1, 2018, through December 31, 2018.

         Except for the bank statements identified above, the Debtor produced no other documents
         in response of this request.


         PRODUCTION OF DOCUMENTS NO. 18:
         All Documents which relate to or evidence communications, including, without limitation,
         emails, texts and correspondence, between You and any other person concerning the
         Lakestream Property during the period May 1, 2017, and March 31, 2019.

         Debtor produced no documents in response to this request.


         PRODUCTION OF DOCUMENTS NO. 19:
         All Documents which relate to or evidence communications, including, without limitation,
         emails, texts and correspondence, between You and any other person, other than Your
         attorneys, concerning or relating to the Ropal Litigation.

         Debtor produced no documents in response to this request.


         7.      Prior to filing this motion, Plaintiff sought to confer with Debtor’s counsel. On

 January 11, 2020, the Plaintiff emailed Debtor’s counsel a draft of this motion and requested a

 time to discuss same in an effort to resolve the issues. A true and correct copy of this email is




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 attached hereto as Exhibit “B.” As of the filling of this motion, Plaintiff had not received a

 response from counsel.

                                          RELIEF REQUESTED

         8.      Plaintiff properly issued the Subpoena on the Debtor on November 30, 2020.

 Debtor did not object to otherwise seek to quash the Subpoena, nor did Debtor seek a protective

 order or assert a privilege. Accordingly, Debtor had a duty to produce all documents the subject to

 the Subpoena. See, Rule 45(e). Having not produced all the documents sought and responsive to

 the Subpoena, the Debtor should be held in contempt and compelled to fully produce all such

 documents. See, Rule 45(g) (“The court for the district where compliance is required — and also,

 after a motion is transferred, the issuing court — may hold in contempt a person who, having been

 served, fails without adequate excuse to obey the subpoena or an order related to it.”).

         9.      For that purpose, the Debtor should be ordered to produce all documents responsive

 to the Subpoena no later than ten (10) days from the Court’s entry of an order granting this motion,

 and Plaintiff should be awarded his fees and costs associated with prosecuting this motion.

                                                PRAYER

         WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the Court enter an Order

 compelling Debtor’s compliance with the subpoena within ten (10) days of entry of such order,

 issuing fees and sanctions as appropriate, and granting Plaintiff such other and further relief to

 which he is justly entitled.




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                                                 Respectfully Submitted,

                                                 /s/ Mark A Weisbart
                                                 Mark A Weisbart
                                                 Texas Bar No. 21102650
                                                 THE LAW OFFICE OF MARK A. WEISBART
                                                 12770 Coit Road, Suite 541
                                                 Dallas, TX 75251
                                                 (972) 628-4903 Phone
                                                 mark@weisbartlaw.net

                                                 COUNSEL FOR CHAPTER 7 TRUSTEE




                                   CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a copy of the foregoing instrument was served on the
 parties listed below as well as the parties listed on the attached mailing list in accordance with
 LBR 9013(f) either through the Court’s electronic notification system as permitted by Appendix
 5005 III. E. to the Local Rules of the U.S. Bankruptcy Court for the Eastern District of Texas, or
 by first class United States Mail, postage prepaid on this the 20th day of January 2021.

  Jamela Siddiqi                     Herman A. Lusky                    Muhammad Nasir Siddiqi
  14411 Tanglewood Drive             5473 Blair Rd.                     6701 Haven Hurst Ct.
  Farmers Branch, TX 75234           Dallas, TX 75231                   Allen, TX 75002

                                                          /s/ Mark A Weisbart
                                                          Mark A Weisbart




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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

   IN RE:
                                                    CASE NO. 19-42834
   MUHAMMAD NASIR SIDDIQI                           CHAPTER 7

                                 DEBTOR
   MARK A. WEISBART,
   CHAPTER 7 TRUSTEE                                ADVERSARY NO. 20-04037

                                 PLAINTIFF
   V.

   JAMELA SIDDIQI

                                 DEFENDANT


                         EXHIBIT “A” TO SUBPOENA DUCES TECUM



                                           I. DEFINITIONS

         In connection with the Documents herein requested, you are to use and apply the following

  definitions:

                 (a)     “Document” and “Documents” are used in their broadest sense and shall

                         mean every writing however produced or reproduced and regardless of

                         origin, whether handwritten, typed, printed,, micro-filmed, photostated, or

                         recorded and any graphic matter of every kind and description, together

                         with all attachments and appendices thereto, including, but not limited to,

                         agreements, contracts, communications, correspondence, memoranda,

                         telecopies, stenographic or handwritten notes (including notes of meetings

                         and conversations), letters, telegrams, messages (including reports of



                                                                                              Page 1



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                    telephone conversations and conferences), tapes (including voice

                    recordings and videotapes), records of conversations, transcripts, studies,

                    analyses, comparisons, demands, schedules, recordings, papers, data sheets,

                    publications, books, circulars, brochures, pamphlets, bulletins, notices,

                    instructions, drafts, notebooks, diaries, calendars, articles, news clips and

                    newspapers, press releases, films, photographs, sketches, drawings, charts,

                    diagrams, forms, manuals, lists, surveys, records, computer records, work

                    papers, invoices, shipping documents, bills of lading, packing lists, delivery

                    orders, custom reports, billing statements, airways bills, purchase orders,

                    financial reports and statements, balance sheets, profit and loss statements,

                    statements of earnings, statements of net worth, statements of operation,

                    auditor reports, audit work papers, financial reports and summaries, income

                    statements, statements or lists of assets, bank statements, checking

                    statements, checks, deposit receipts, canceled checks, wire transfer

                    acknowledgments or receipts, accounts payable ledgers, accounts

                    receivable ledgers, appraisals, notes, security agreements, financing

                    statements, certificates of title, commitment letters, commission

                    agreements, expense records, opinions, legal opinions, expert opinions,

                    reports, minutes of meetings or consultations, and other such materials. The

                    term “Document” further includes any and all “electronically stored

                    information” including, without limitation, writings, emails, drawings,

                    graphs, charts, photographs, sound recordings, images, and other data or

                    data compilations stored in any medium from which information can be



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                     obtained including those generated by use of a computer, whether or not

                     reduced to paper, and specifically includes any and all writings or graphic

                     matters stored on a server computer, a computer disc, CD-Rom, or external

                     hard drive in whatever shape or form. The terms further include all

                     documents now or formerly in Defendant’s actual or constructive

                     possession, custody or control or his counsel, representatives, or other third

                     parties from whom such documents may be obtained or of which Defendant

                     or his counsel have knowledge. The terms also include every copy of any

                     document which contains any commentary, notation or variation

                     whatsoever that does not appear in the original. Documents shall not

                     include any documents previously produced in connection with the 2004

                     examination of Tracey L. Gelling pursuant to the Order entered on

                     November 13, 2019 in the Hall case.

             (b)     “Person(s)” refers to natural Persons, corporations, partnerships,

                     proprietorships, associations, organizations, governmental entities, groups

                     of Persons, or any other entities or institutions of whatever nature, whether

                     formed for a business purpose, a governmental purpose or any other

                     purpose.

             (c)     “Relating to” means, without limitation, related to, referencing, reflecting,

                     evidencing, constituting, disclosing, detailing, discussing, identifying,

                     recording, describing, pertaining to in any respect.

             (d)     “Identify(ing)” means,

                                  (i)       When referring to a communication, to the extent the



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                             communication was written, to identify the document(s) which

                             refer to or evidence the communication and, to the extent the

                             communication was verbal, to state the Person(s) making the

                             communication,       any   and   all   Persons   to   whom     the

                             communication was directed, any and all Persons who may have

                             overhead the communication, whether or not such Persons in

                             fact did, the manner in which the communication was conveyed,

                             the date, time and place of the communication, and the substance

                             of the communication.

                              (ii)       When referring to a Document, state the title and date

                             of the document, a summary of its contents, the author of the

                             document, the circumstances surrounding creation or production

                             of the document, when the document was first received, all

                             Persons who received a copy of the document at any time

                             subsequent to its creation or if received from another Person

                             since its receipt.

                             (iii)       When referring to a fact, describe with specificity,

                             each and every fact, ultimate fact, circumstance, occurrence,

                             incident, act, omission, event relating to otherwise pertaining to

                             the matters inquired of in the subject interrogatory, and its date,

                             place of occurrence, all Persons involved or witness such

                             occurrence or with knowledge relating to such occurrence or

                             fact, whether such Persons were witness or who were advised or



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                                  told of such occurrence or fact at any point thereafter.

                                  (iv)       When referring to business entity, state the entity’s

                                  name, business address and telephone, its corporate form and

                                  state of incorporation or organization;

                                  (v)        When referring to a natural Person, state the Person’s

                                  name, current or last known residential address and telephone

                                  number and current or last known business address and

                                  telephone number.

             (e)     “Describe” when used with respect or in connection with an act,

                     occurrence, event, fact or state of affairs, shall require a description of the

                     act, occurrence, event, fact or state of affairs referred to; the identifying of

                     all Persons who may possess or have knowledge and the manner in which

                     such knowledge may have been acquired; and the statement of what acts

                     were performed, accomplished or attempted by each Person who in any way

                     participated in or was present at the event, fact or occurrence being

                     described.

             (f)     “Evidencing” means tending to show in any probative manner the existence

                     or non-existence of any matter the subject of the request.

             (g)     “You” means Muhammad Nasir Siddiqi.

             (h)     “Debtor” means Muhammad Nasir Siddiqi, debtor in the Siddiqi Case.

             (i)     “Siddiqi Case” means the bankruptcy case filed by Muhammad Nasir

                     Siddiqi on October 16, 2019, case no. 19-42834.

             (j)     “Siddiqi Petition Date” means October 16, 2019.



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             (k)      “Defendant” means Jamela Siddiqi, her employees, agents, officers,

                      directors, and all Persons acting or purporting to act on its behalf.

             (l)      “Jamela Siddiqi” or “JS” means Jamela Siddiqi, defendant in the

                      Adversary Proceeding.

             (m)      “Trustee” or “Plaintiff” means Mark A. Weisbart, Chapter 7 Trustee and

                      plaintiff in this lawsuit.

             (n)      “Bankruptcy Court” means the United States Bankruptcy Court for the

                      Eastern District of Texas, Sherman Division.

             (o)      “Adversary Proceeding” means the adversary proceeding styled Mark A.

                      Weisbart, Chapter 7 Trustee v. Jamela Siddiqi, Adv. No. 20-04037, filed in

                      connection with the Siddiqi Case.

                   (p) “Answer” means Defendant’s answer filed in the Adversary Proceeding.

             (q)      “Trial” means the trial in the Adversary Proceeding.

             (r)      “Complaint” means Trustee’s Original Complaint filed on February 28,

                      2020, commencing the Adversary Proceeding

             (s)      “Deed Transfer” means that deed transferring Debtor’s interest in the

                      Lakestream Property on July 19, 2018, a copy which is attached hereto as

                      Exhibit “1.”

             (t)      “Lakestream Property” means that property identified as 1109

                      Lakestream Drive, Plano, Texas 75075.

             (u)      “Ropal Litigation” means that certain dispute involving Ropal

                      Entertainment, LLC, Hiba Entertainment, Inc., Mohammad Nasir Siddiqi

                      and Azhar Qasmi commenced in 2017 that resulted in that certain Final



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                    Judgment on Award of Arbitrator entered in Ropal Entertainment, LLC v.

                    Hiba Entertainment, Inc., Mohammad Nasir Siddiqi and Azhar Qasmi,

                    Cause No. DC-18-09276, in the 193rd Judicial District Court, Dallas

                    County, Texas, signed on March 7, 2019.




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                                 II. DOCUMENTS TO BE PRODUCED


  PRODUCTION OF DOCUMENTS NO. 1:
  All Documents which identify or evidence all of your debts or liabilities for the time period January
  1, 2018, through December 31, 2018.

  RESPONSE:


  PRODUCTION OF DOCUMENTS NO. 2:
  All Documents which identify all claims asserted against You for the time period January 1, 2018,
  through December 31, 2018.

  RESPONSE:


  PRODUCTION OF DOCUMENT NO. 3:
  All of Your bank account statements for calendar year 2018.

  RESPONSE:


  PRODUCTION OF DOCUMENTS NO. 4:
  All of Your credit card statements for 2018.

  RESPONSE:


  PRODUCTION OF DOCUMENTS NO. 5:
  All Documents which relate to or evidence communications, including, without limitation, emails,
  texts and correspondence, between You and JS concerning the Lakestream Property since July 26,
  2010.

  RESPONSE:

  PRODUCTION OF DOCUMENTS NO. 6:
  All Documents which relate to or evidence communications, including, without limitation, emails,
  texts and correspondence, between You and JS concerning or relating to the Ropal Litigation.

  RESPONSE:




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  PRODUCTION OF DOCUMENTS NO. 7:
  All bills from phone companies for the period May 1, 2017, through March 31, 2019, that identify
  and evidence Your phone calls and texts to and from third parties.

  RESPONSE:


  PRODUCTION OF DOCUMENTS NO. 8:
  All Documents which evidence, reflect or refer to the Deed Transfer at issue in the Adversary
  Proceeding.

  RESPONSE:


  PRODUCTION OF DOCUMENTS NO. 9:
  All Documents that evidence, refer or reflect any oral agreements between You and JS related in
  any way to the Deed Transfer or the Lakestream Property.

  RESPONSE:


  PRODUCTION OF DOCUMENTS NO. 10:
  All Documents identifying or evidencing the assets You owned during the period January 1, 2018,
  through December 31, 2018.

  RESPONSE:


  PRODUCTION OF DOCUMENTS NO. 11:
  All Documents identifying or evidencing the value of any of the assets You owned during the
  period January 1, 2018, through December 31, 2018.

  RESPONSE:


  PRODUCTION OF DOCUMENTS NO. 12:
  Your federal tax returns for 2015, 2016, 2017 and 2018.

  RESPONSE:




                                                                                            Page 9



                                           Exhibit "A"
Case 21-04077        Doc 16-13 Filed 01/14/22 Entered 01/14/22 21:47:06                            Desc
                      Exhibit M Motion to Compel Page 22 of 26

  Case 20-04037        Doc 20     Filed 01/20/21 Entered 01/20/21 16:55:36               Desc Main
                                  Document      Page 21 of 25

                                             Exhibit “A”


  PRODUCTION OF DOCUMENTS NO. 13:
  The federal tax returns for Hiba Entertainment, Inc. for 2018.

  RESPONSE:


  PRODUCTION OF DOCUMENTS NO. 14:
  All financial records of Hiba Entertainment, Inc. for 2018, including, without limitation, financial
  statements, balance sheets, cash flow statements, bank account statements, credit card statements
  and contracts.

  RESPONSE:


  PRODUCTION OF DOCUMENTS NO. 15:
  All Documents which identify or evidence the debts or liabilities of Hiba Entertainment for the
  time period January 1, 2018, through December 31, 2018.

  RESPONSE:


  PRODUCTION OF DOCUMENTS NO. 16:
  All Documents which identify or evidence all assets of Hiba Entertainment at any time during the
  time period January 1, 2018, through December 31, 2018.

  RESPONSE:


  PRODUCTION OF DOCUMENTS NO. 17:
  All Documents identifying or evidencing the value of any of the assets Hiba owned during the
  period January 1, 2018, through December 31, 2018.

  RESPONSE:


  PRODUCTION OF DOCUMENTS NO. 18:
  All Documents which relate to or evidence communications, including, without limitation, emails,
  texts and correspondence, between You and any other person concerning the Lakestream Property
  during the period May 1, 2017, and March 31, 2019.

  RESPONSE:




                                                                                               Page 10



                                             Exhibit "A"
Case 21-04077       Doc 16-13 Filed 01/14/22 Entered 01/14/22 21:47:06                         Desc
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                                 Document      Page 22 of 25

                                            Exhibit “A”



  PRODUCTION OF DOCUMENTS NO. 19:
  All Documents which relate to or evidence communications, including, without limitation, emails,
  texts and correspondence, between You and any other person, other than Your attorneys,
  concerning or relating to the Ropal Litigation.

  RESPONSE:




                                                                                           Page 11



                                           Exhibit "A"
Case 21-04077     Doc 16-13 Filed 01/14/22 Entered 01/14/22 21:47:06          Desc
                   Exhibit M Motion to Compel Page 24 of 26

  Case 20-04037    Doc 20   Filed 01/20/21 Entered 01/20/21 16:55:36   Desc Main
                            Document      Page 23 of 25




                    Exhibit “B”
Case 21-04077       Doc 16-13 Filed 01/14/22 Entered 01/14/22 21:47:06                Desc
                     Exhibit M Motion to Compel Page 25 of 26

  Case 20-04037       Doc 20        Filed 01/20/21 Entered 01/20/21 16:55:36   Desc Main
                                    Document Exhibit "B" 24 of 25
                                                  Page

  From:          Mark Weisbart
  To:            Eric Liepins (eric@ealpc.com)
  Cc:            Tarah Simmons; Jim Brouner
  Subject:       Siddiqi adversary
  Date:          Monday, January 11, 2021 3:11:12 PM
  Attachments:   compel.compliance.motion.docx
                 compel.compliance.order.docx
                 compel.compliance.motion Ex A.pdf



  Eric,

  Attached is a rough draft of a motion to compel and for fees with regard to the
  documents the debtor failed to produce in conjunction with the November 30,
  2020 subpoena. Contained in the motion is the list of documents not produced
  by the debtor. Can we set up a time this week to discuss and attempt to resolve
  this?

  Thanks,

  Mark

  Mark A. Weisbart
  THE LAW OFFICE OF MARK A. WEISBART
  12770 Coit Road, Suite 541
  Dallas, Texas 75251
  (972) 628-4903 Phone
  mark@weisbartlaw.net




                                                  Exhibit "B"
             Case 21-04077              Doc 16-13 Filed 01/14/22 Entered 01/14/22 21:47:06                                       Desc
                                         Exhibit M Motion to Compel Page 26 of 26

                  Case 20-04037           Doc 20       Filed 01/20/21         Entered 01/20/21 16:55:36              Desc Main
Label Matrix for local noticing                     Hershel R. Chapin
                                                       Document           Page 25 of 25                  Eric A. Liepins
0540-4                                              H. R. Chapin, Attorney & Counselor, PLLC             12770 Coit Road
Case 19-42834                                       4301 Alpha Rd.                                       Suite 1100
Eastern District of Texas                           Dallas, TX 75244-4405                                Dallas, TX 75251-1329
Sherman
Wed Jan 20 16:49:16 CST 2021
Lakia’ S. McCline                                   PRA Receivables Management, LLC                      Tom W. Sharp
400 N. Sam Houston Pkwy E. Suite 900A               PO Box 41021                                         Blalack & Williams, P.C.
Houston, TX 77060-3548                              Norfolk, VA 23541-1021                               4851 LBJ Freeway, Suite 750
                                                                                                         Dallas, TX 75244-6012


Muhammad Nasir Siddiqi                              US Trustee                                           (p)MARK A WEISBART
6701 Haven Hurst Ct.                                Office of the U.S. Trustee                           ATTN THE LAW OFFICE OF MARK A WEISBART
Allen, TX 75002-3028                                110 N. College Ave.                                  12770 COIT ROAD SUITE 541
                                                    Suite 300                                            DALLAS TX 75251-1366
                                                    Tyler, TX 75702-7231

Stephen Wilcox
Wilcox Law, PLLC
P.O. Box 201849
Arlington, TX 76006-1849




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Mark A. Weisbart                                    (d)Mark A. Weisbart                                  (d)Mark A. Weisbart
The Law Office of Mark A. Weisbart                  The Law Office of Mark A. Weisbart                   The Law Office of Mark A. Weisbart
12770 Coit Road, Suite 541                          12770 Coit Road, Suite 541                           12770 Coit Road, Suite 541
Dallas, TX 75251                                    Dallas, TX 75251                                     Dallas, TX 75251


End of Label Matrix
Mailable recipients      9
Bypassed recipients      0
Total                    9
